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Limited Liability Partnership Attorneys At Law

September 20, 2024
VIA ECF

Honorable Michael A. Hammer

United States District Court for the District of New Jersey
50 Walnut Street

Newark, New Jersey 07101

Re: Agdal v. Danis
Civil No. 23-16873 (MCA) (MAH)

Dear Judge Hammer:

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In response to the Court’s September 19, 2024 text Order, please be informed that all
counsel and Defendant are available for a status conference on the following dates, in order of
preference: September 30, October |, or September 27 (very much not preferred). Defendant has
been informed of the dates and that he is expected to attend the status conference in person.

cc: All Counsel of Record (via ECF)
